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                IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF OHIO
                         WESTERN DIVISION


DREWES FARMS PARTNERSHIP,                )   Case No. 3:19-cv-00434-JZ
                                         )
           Plaintiff,                    )   Hon. Jack Zouhary
                                         )
     v.                                  )
                                         )
CITY OF TOLEDO, OHIO,                    )
                                         )
           Defendant.                    )


                             NOTICE OF APPEAL


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                             Sarah K. Skow (0081468)
                          Jennifer A. McHugh (0084842)
                          Stephen D. Hartman (0074794)
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      Notice is hereby given that the City of Toledo, Defendant in the above-named

action, hereby appeals to the United States Court of Appeals for the Sixth Circuit the

Order (Doc. 63) of the Northern District of Ohio invalidating the Lake Erie Bill of Rights

(“LEBOR”), entered February 27, 2020.

      Notice is further given that the City of Toledo hereby appeals to the United States

Court of Appeals for the Sixth Circuit the Judgment Entry (Doc. 64) of the Northern

District of Ohio granting the Motions for Judgment on the Pleadings filed by Plaintiff

and Intervenor (Docs. 34 and 35).

                                                Respectfully submitted,


                                                /s/ Sarah K. Skow
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                                                Sarah K. Skow (0081468)
                                                Jennifer A. McHugh (0084842)
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                                                Ohio




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                               CERTIFICATE OF SERVICE

         This is to certify that a copy of the foregoing has been electronically filed this 27th

day of March, 2020. Notice of this filing will be sent by operation of the Court’s

electronic filing system to all parties indicated on the electronic filing receipt. Parties

may access this filing through the Court’s system.


                                                    /s/ Sarah K. Skow
                                                    Sarah K. Skow
479834




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